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                           Ex. ‘1’
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                                The Law Offices of
                             Christopher P. Burke, Esq.
                               218 S. Maryland Parkway
                               Las Vegas, Nevada 89101
                                       (702) 385-7987
                                     fax (702) 385-7986


                                                           October 28, 2021


Eddie R. Jimenez, Esq.
Aldridge Pite, LLP
7220 South Cimarron Road,
Suite 140
Las Vegas, NV 89113
Email: ejimenez@aldridgepite.com



       RE:    Melani Schulte
              Case No.: 09-29123-MKN


Dear Mr. Jimenez,

       I am in receipt of Shellpoint’s Objections and Responses to Schulte’s First Set of
Interrogatories, Request for Admissions, and Request for Production of Documents. This
will serve as my request for a meet and confer in relation to Shellpoint’s Responses. Please
review and lets discuss this by November 3, 2021.
       First Set of Interrogatories:
Interrogatories No. 1:
       List all individuals, lay or expert, you intend to call at the evidentiary hearing in this
       matter.
              a) Provide their job title, educational background, work experience that
                 qualifies that person to testify as an expert witness and their CV;

              b) Provide a description of the subject matter on which the witness will be
                 speaking on;
              c) The substance of the facts and opinions to which the witness is expected to


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                 testify;

              d) Whether they are being paid to testify and if so, how much.

Response:
       Objection: Premature Request – Shellpoint objects to this Request as premature.
This interrogatory need not be answered until designated discovery is complete, or until a
pretrial conference or some other time. Shellpoint shall disclose any witnesses it intends to
call at the evidentiary hearing by the applicable due date. Any response to this interrogatory
is premature and Shellpoint’s response may be deferred.
       Notwithstanding the above Objections, Shellpoint intends to call at least one
representative with knowledge of the Subject Loan. Further, Shellpoint intends to call Ms.
Schulte.


Reply:
       This is not a premature request. Once discovery is complete how can a deposition be
taken? What rule or statute provides that a lay or expert does not need to be designated
until “discovery is complete, or until a pretrial conference or some other time.” Please
provide the name of any witness or acknowledge none will be called by Shellpoint.


Interrogatories No. 3:
       Provide a list and the dates of all phone calls Shellpoint has made to Schulte since
       August 21, 2015.
              a) Include the phone numbers that the calls were made to;
              b) Include not only the date, but the time made;


Response:
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Debtor may review her
own call log and create a list with the above information. Shellpoint has no duty to create
or modify responsive documents for the Debtor.


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        Objection: Equally Available - The information sought in this request is equally
available to the Debtor. Specifically, Debtor may review her own phone records and/or call
logs.


Reply:
        Ms. Schulte is entitled to any record of calls Shellpoint has made to her whether
or not the information is equally available to her. This is not overburdensome since
Shellpoint has computer records it can printout.


Interrogatories No. 4:
        Provide a list and dates of all phone calls Shellpoint received from Schulte since
August 21, 2015.


Response:
        Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Debtor may review her
own call log and create a list with the above information. Shellpoint has no duty to create
or modify responsive documents for the Debtor.
        Objection: Equally Available - The information sought in this request is equally
available to the Debtor. Specifically, Debtor may review her own phone records and/or call
logs.


Reply:
        Ms. Schulte is entitled to any record of calls Shellpoint has that she made to
Shellpoint, whether or not the information is equally available to her. This is not
overburdensome since Shellpoint has computer records it can printout.


Interrogatories No. 5:
        Provide a list of all transcript of calls made by Shellpoint to Schulte since August
21, 2015.


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Response:
        Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Debtor may review her
own call log and create a list with the above information. Shellpoint has no duty to create
or modify responsive documents for the Debtor.
        Objection: Equally Available - The information sought in this request is equally
available to the Debtor. Specifically, Debtor may review her own phone records and/or call
logs.


Reply:
        Ms. Schulte is entitled to any transcript or recording of any calls made by Shellpoint
to her whether or not the information is equally available to her. This is not
overburdensome since Shellpoint has computer records or recordings it can printout or
reproduce.


Interrogatories No. 6:
        Provide a list of all transcripts of calls received by Shellpoint from Schulte since
August 21, 2015.


Response:
        Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Debtor may review her
own call log and create a list with the above information. Shellpoint has no duty to create
or modify responsive documents for the Debtor.
        Objection: Equally Available - The information sought in this request is equally
available to the Debtor. Specifically, Debtor may review her own phone records and/or call
logs.



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Reply:
       Ms. Schulte is entitled to any transcript or recording of any calls made by her to
Shellpoint, whether or not the information is equally available to her. This is not
overburdensome since Shellpoint has computer records or recordings it can printout or
reproduce.


Interrogatories No. 8:
       List the first time, and how, Shellpoint learned of Schulte’s bankruptcy.


Response:
       Objection: Legal Conclusion – Shellpoint objects to this Request on the grounds that
it calls for a legal conclusion.
       Objection: Attorney-Client Privilege, Attorney Work-Product Protection - The
request seeks information subject to the attorney-client privilege. The attorney-client
privilege is broadly construed, and extends to “factual information” and “legal advice.”
Further, this discovery request seeks attorney work product.
       Objection: Revealing Attorney’s Impressions or Strategy or Theory of the Case -
This discovery request is inappropriate as it requests information, which may reveal the
mental impressions or trial strategy of the attorneys or experts involved. Shellpoint’s
counsel is not required to disclose their legal research, opinions, or theory of the case to
Debtor.
       Subject to and without waiving the foregoing objections, Shellpoint responds as
follows:
On or about August 17, 2015, Shellpoint acquired servicing rights to the Subject Loan.


Reply:
       This is non responsive to the request of the date Shellpoint first because aware of Ms.
Schulte bankruptcy. It does not call for a legal conclusion. However, if Shellpoint is stating
that it become aware of Schulte’s bankruptcy when it acquired the servicing rights on
August 17, 2015 that is acceptable. But please state that specifically. Otherwise please
provide the actual date.



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Interrogatories No. 9:
       List the date, and how, Shellpoint learned Schulte chapter 11 plan was confirmed.
Response:
       Objection: Legal Conclusion – Shellpoint objects to this Request on the grounds that
it calls for a legal conclusion.
       Objection: Attorney-Client Privilege, Attorney Work-Product Protection - The
request seeks information subject to the attorney-client privilege. The attorney-client
privilege is broadly construed, and extends to “factual information” and “legal advice.”
Further, this discovery request seeks attorney work product.
       Objection: Revealing Attorney’s Impressions or Strategy or Theory of the Case -
This discovery request is inappropriate as it requests information which may reveal the
mental impressions or trial strategy of the attorneys or experts involved. Shellpoint’s
counsel is not required to disclose their legal research, opinions, or theory of the case to
Debtor.


Reply:
       This is non responsive and does not call for a legal conclusion. However, if Shellpoint
is stating that became aware of Schulte’s chapter 11 confirmed plan when it acquired the
servicing rights on August 17, 2015 that is acceptable. But please state that specifically.
Otherwise please provide the actual date.


Interrogatories No. 10:
       List the first date, and how, Shellpoint learned of Schultes discharge.


Response:
       Objection: Legal Conclusion – Shellpoint objects to this Request on the grounds that
it calls for a legal conclusion.
       Objection: Attorney-Client Privilege, Attorney Work-Product Protection - The
request seeks information subject to the attorney-client privilege. The attorney-client
privilege is broadly construed, and extends to “factual information” and “legal advice.”
Further, this discovery request seeks attorney work product.
       Objection: Revealing Attorney’s Impressions or Strategy or Theory of the Case -


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This discovery request is inappropriate as it requests information which may reveal the
mental impressions or trial strategy of the attorneys or experts involved. Shellpoint’s
counsel is not required to disclose their legal research, opinions, or theory of the case to
Debtor.


Reply:
       This is non responsive to the request of the date Shellpoint first because aware of Ms.
Schulte bankruptcy. It does not call for a legal conclusion. However, if Shellpoint is stating
that it became aware of Schulte’s bankruptcy discharge when it acquired the servicing rights
on August 17, 2015 that is acceptable. But please state that specifically. Otherwise please
provide the actual date.


Interrogatories No. 11:
       List the date, and how Shellpoint learned Schulte had cramdown the mortgage it has
on the property located at 1392 Echo Falls Ave., Las Vegas Nevada 89123.


Response:
       Objection: Legal Conclusion – Shellpoint objects to this Request on the grounds that
it calls for a legal conclusion.
       Objection: Attorney-Client Privilege, Attorney Work-Product Protection - The
request seeks information subject to the attorney-client privilege. The attorney-client
privilege is broadly construed, and extends to “factual information” and “legal advice.”
Further, this discovery request seeks attorney work product. O b j e c t i o n : R e v e a l i n g
Attorney’s Impressions or Strategy or Theory of the Case - This discovery request is
inappropriate as it requests information which may reveal the mental impressions or trial
strategy of the attorneys or experts involved. Shellpoint’s counsel is not required to disclose
their legal research, opinions, or theory of the case to Debtor.


Reply:
       This is non responsive to the request of the date Shellpoint first because aware of Ms.
Schulte bankruptcy. It does not call for a legal conclusion. However, if Shellpoint is stating
that it became aware of Schulte’s cramdown of the mortgage when it acquired the servicing


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rights on August 17, 2015 that is acceptable. But please state that specifically. Otherwise
please provide the actual date.


Interrogatories No. 13:
       For all Request for Admissions that were denied or not explicitly affirmed please list
each particular Request for Admission and explain your denial.


Response::
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Shellpoint has no duty
to create or modify responsive documents for the Debtor. Debtor may review Shellpoint’s
Responses to the Requests for Admissions, which contain sufficient detail regarding the
reason for each denial.


Reply:
       This is non responsive. Please specifically explain each denial in the Request for
Admissions this interrogatory.


       First Request For Production of Documents:
       Shellpoint’s Objections and Responses to Schulte’s First Request for Production of
Documents. Shellpoint’s answer to Request for Production No 4, 5, 6, 7, 8, 9, 10, 11, 13, 14,
15, 16, and No. 17:


Request Number 4:
       A copy of Shellpoint’s Pooling and Servicing agreement regarding the real property
located at 1392 Echo Falls Ave., Las Vegas Nevada 89123.


Response::
       Objection: Relevance – This Request is not relevant to any contested matter and is
not reasonably calculated to lead to the discovery of admissible evidence related to any


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contested issue.
        Objection: Proprietary/Confidential Information - This discovery request attempts
to obtain confidential/proprietary information.
        Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “Pooling and Servicing agreement”
is not defined such that Shellpoint would have enough information to provide an informed
response.
        Consequently, Shellpoint cannot respond substantively to this request.
Reply:
        This is an improper response. Shellpoint knows what the Pooling and Servicing
Agreement is. And Shellpoint cannot unilaterally determine what is relevant. Further, it
cannot allege it is proprietary without proving it.


Request Number 5:
        A print out of all calls Shellpoint made to, or received, from Schulte’s since it took
over servicing of the loan regarding the real property located at 1392 Echo Falls Ave., Las
Vegas Nevada 89123.


Response::
        Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Debtor may create her
own call log based on her records. Shellpoint has no duty to create or modify responsive
documents for the Debtor.
        Objection: Equally Available - The information sought in this request is equally
available to the Debtor. Specifically, Debtor may review her own phone records and/or call
logs.


Reply:
        Shellpoint can easily provide a computer printout of any call information. That it
may be equally available to Schulte is not a reason to refuse to provide it.


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Request Number 6:
        A copy of Shellpoint’s call log, both incoming and outgoing, related to Schulte and
the property located at 1392 Echo Falls Ave., Las Vegas Nevada 89123, since taking over the
servicing of this loan.


Response:
        Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Debtor may create her
own call log based on her records. Shellpoint has no duty to create or modify responsive
documents for the Debtor.
        Objection: Equally Available - The information sought in this request is equally
available to the Debtor. Specifically, Debtor may review her own phone records and/or call
logs.
        Objection: Asked and Answered, Repetitive. This discovery request has, in
substance, been previously propounded and responded as explained in Shellpoint’s above
responses.


Reply:
        Shellpoint can easily provide a computer printout of any call information. That it
may be equally available to Schulte is not a reason to refuse to provide it.


Request Number 7:
        A list of all phone numbers Shellpoint has on Schulte.


Response::
        Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Shellpoint has no duty


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to create or modify responsive documents for the Debtor.
       Objection: Equally Available - The information sought in this request is equally
available to the Debtor.
Reply:
       This simple request seeks only to know what phone numbers Shellpoint has on Ms.
Schulte. Further it is not overburdensome or oppressive. And it is not equally available to
Schulte as she does not know what phone numbers Shellpoint has for her.


Request Number 8:
       A list of the fees Shellpoint has been paid on the loan at 1392 Echo Falls Ave., Las
Vegas Nevada 89123 since it took over servicing and how they were calculated.


Response::
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Shellpoint has no duty
to create or modify responsive documents for the Debtor.
       Objection: Relevance – This Request is not relevant to any contested matter and is
not reasonably calculated to lead to the discovery of admissible evidence related to any
contested issue.
       Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “fees” is not defined such that
Shellpoint would have enough information to provide an informed response.
       Consequently, Shellpoint cannot respond substantively to this request.


Reply:
       This is relevant as to what Ms. Schulte is complaining of and a potential reason for
Shellpoints action. Also it is not burdensome, but a simple computer calculation. And fees
has its ordinary dictionary meaning.


Request Number 9:


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       All of Shellpoint’s Policy and Procedures Manuals from 2015 to 2021.
Response:
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint.
       Objection: Relevance – This Request is not relevant to any contested matter and is
not reasonably calculated to lead to the discovery of admissible evidence related to any
contested issue.
       Objection: Proprietary/Confidential Information - This discovery request attempts
to obtain confidential/proprietary information of Shellpoint.
       Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “Policy and Procedures Manuals” is
not defined such that Shellpoint would have enough information to provide an informed
response.
       Consequently, Shellpoint cannot respond substantively to this request.


Reply:
       This is relevant to Ms. Schultes case, it is not overburdensome or vague and
ambiguous. To the extent a more precise request is sought, Ms. Schulte requests the Policy
and Procedure Manuals for Bankruptcy cases. Further it goes to the heart of the matter.


Request Number 10:
       A list of any calls between Shellpoint and Schulte where a recording was made.


Response::
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Shellpoint has no duty
to create or modify responsive documents for the Debtor.



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Reply:
       This is not burdensome, but a simple request that can be produced by computer
printout.


Request Number 11:
       Produce any recordings made of calls between Schulte and Shellpoint.


Response::
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint.


Reply:
       This is not burdensome, but a simple request that can be produced with a computer
printout.


Request Number 13:
       A copy of the servicing transfer agreement between PHH successor to Ocwen Loan
Servicing LLC., and Shellpoint.


Response::
       Objection: Relevance –This Request is not relevant to any contested matter and is
not reasonably calculated to lead to the discovery of admissible evidence related to any
contested issue.
       Objection: Proprietary/Confidential Information - This discovery request attempts
to obtain confidential/proprietary information of Shellpoint.
       Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “servicing transfer agreement” is not
defined. Once Debtor provides additional information to clarify the vague and ambiguous
terms used in this request, Shellpoint will be in a position to amend its response to Request
No. 13, if necessary.


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       Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “servicing transfer agreement” is not
defined such that Shellpoint would have enough information to provide an informed
response.
       Objection: Equally Available - The information sought in this request is equally
available to the Debtor. Debtor may request said documents from the prior servicer(s).
       Consequently, Shellpoint cannot respond substantively to this request.


Reply:
       This is relevant, because if any laws were violated, it may determine which creditor
is responsible. Further, it is not equally available to Schulte. Besides no proof that it is
proprietary has been shown.


Request Number 14:
       Please provide the Purchase and Sale Agreement on this loan from PHH successor
to Ocwen Loan Servicing LLC., to Shellpoint.


Response::
       Objection: Relevance – This Request is not relevant to any contested matter and is
not reasonably calculated to lead to the discovery of admissible evidence related to any
contested issue.
       Objection: Proprietary/Confidential Information - This discovery request attempts
to obtain confidential/proprietary information of Shellpoint.
       Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “Purchase and Sale Agreement” is
not defined.
       Objection: Equally Available - The information sought in this request is equally
available to the Debtor. Debtor may request said documents from the prior servicer(s).
       Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “Purchase and Sale Agreement” is
not defined such that Shellpoint would have enough information to provide an informed
response


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       Consequently, Shellpoint cannot respond substantively to this request.


Reply:
       This is relevant, because if any laws were violated, it may determine which creditor
is responsible. Further, it is not equally available to Schulte. Besides no proof that it is
proprietary has been shown.


Request Number 15:
       Provide Shellpoint’s electronic data base on Schulte for the property located at 1392
Echo Falls Ave., Las Vegas Nevada 89123 from the time it took over servicing in August
2015 to September, 2021.


Response::
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint.
       Objection: Proprietary/Confidential Information - This discovery request attempts
to obtain confidential/proprietary information of SHELLPOINT.
       Objection: Attorney-Client Privilege, Attorney Work-Product Protection - The
request seeks information subject to the attorney-client privilege. The attorney-client
privilege is broadly construed, and extends to “factual information” and “legal advice.”
Further, this discovery request seeks attorney work product.
       Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “electronic data base” is not defined.
       Consequently, Shellpoint cannot respond substantively to this request.


Reply:
       This is not vague and ambiguous, or burdensome and oppressive. Shellpoint keeps
a computer file on each client and/or property Schulte request hers for 1392 Echo Falls
Ave., Las Vegas Nevada 89123.



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Request Number 16:
       Provide a list of codes and their meaning in relation to the electronic data base for
Schulte’s loan on the properly located at 1392 Echo Falls Ave., Las Vegas Nevada 89123
from the time Shellpoint took over servicing of the loan.


Response:
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Shellpoint has no duty
to create or modify responsive documents for the Debtor.
       Objection: Vague and Ambiguous - Shellpoint objects to this Request on the grounds
that it is vague and ambiguous. In particular, the term “electronic data base” and “codes”
are not defined.
       Consequently, Shellpoint cannot respond substantively to this request.


Reply:
       Shellpoint has a code system associated with its computer notes on Schulte’s loan.
This is not overbroad or oppressive.


Request Number 17:
       Provide any log notes or communication notes regarding Schulte and the property
located at 1392 Echo Falls Ave., Las Vegas Nevada 89123 from the time Shellpoint took over
servicing of the loan.


Response::
       Objection: Burdensome, Oppressive, Overbroad - This discovery request is broad
and unlimited as to scope as to be an unwarranted annoyance, embarrassment, and is
oppressive. To comply with the request would be an undue burden and expense on the
Shellpoint. The request is calculated to annoy and harass Shellpoint. Shellpoint has no duty
to create or modify responsive documents for the Debtor.
       Objection: Proprietary/Confidential Information - This discovery request attempts


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